                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                     Plaintiff,

              vs.                                       Case No. 25-mj-376 (SCD-JPS)

TIMOTHY BEA,

                     Defendant.


            RESPONSE TO GOVERNMENT’S MOTION FOR DE NOVO
                  REVIEW OF PRETRIAL RELEASE ORDER

       On April 18, 2025, police in Milwaukee arrested Timothy Bea. Four days later, Bea

appeared in court on a criminal complaint. At his detention hearing on April 23, 2025,

Magistrate Judge Stephen Dries entered an Order releasing Bea with various conditions,

consistent with the recommendation of pretrial services. Despite the release order, Bea

remains in custody as a result of the government’s request for a stay while it appeals the

Magistrate Judge’s ruling.

       The government’s 20-page brief requesting review of the release order is based

almost entirely on a description of the government’s case and the weight of the evidence.

As in most cases, the government’s case appears facially strong, although Bea is in no

position to contest it having not received the discovery. But the weight of the evidence is

the least compelling factor to be considered in the bail analysis as it often has little

relationship to a person’s danger to the community or flight risk, and the Bail Reform Act



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                                                                               of Wisconsin, Inc.
   Case 2:25-mj-00376-SCD-JPS         Filed 04/30/25    Page 1 of 17      Document 12
commands that the presumption of innocence shall be respected. See 18 U.S.C. § 3142(j).

Given that well over 90% of persons charged in federal court are convicted, few people

would be released if the weight of the evidence was a predominant factor.

       The evidence proffered by the government is that Bea possessed drugs and

firearms. There are no allegations that he engaged in violence or threats of violence at any

time in his life, let alone as part of these alleged offenses. The government does not allege

that Bea used firearms towards others. Bea isn’t a felon—in fact, he has no criminal record

at all—and his possession of firearms itself is not illegal. He had a valid CCW permit at

the time of his arrest. He has strong community ties. He owns a home, where he resides

with his mother. He owned businesses in Milwaukee. He has several children in

Milwaukee and a long-term, stable relationship.

       Ultimately, the government’s detention request is premised on its claim that drug

dealing—of fentanyl in particular—is inherently dangerous, but it fails to appreciate that

the decision whether to release someone on bail is forward looking. That is, the

government must show not that the person did something dangerous in the past; it must

prove he “poses a concrete, prospective threat to public safety.” United States v. Munchel¸

991 F.3d 1273, 1280 (D.C. Cir. 2021) (emphasis added). As the Seventh Circuit recently

stated, “the pretrial detention decision must be based on an assessment of the risk that [a

person] poses to the community in the future, not simply the riskiness of his alleged

offense.” United States v. Lewis, No. 23-2137, 2023 WL 4351244, at *1 (7th Cir. July 5, 2023).

Ultimately, the government fails to show by clear and convincing evidence that there is



                                              2
                                                                         Federal Defender Services
                                                                                 of Wisconsin, Inc.
   Case 2:25-mj-00376-SCD-JPS           Filed 04/30/25    Page 2 of 17      Document 12
no combination of conditions that could “reasonably assure” the safety of the community,

or by a preponderance of the evidence, Bea’s appearance in court. Thus, he must be

released.

         I.    Argument

         A. The presumption is easily rebutted and places only a “light burden” of
            production on the defendant

         One of the two reasons the government gives for detaining Bea is that he has not

rebutted the presumption of detention that applies in this case. While there is such a

presumption here, as there is in virtually every drug prosecution, the Seventh Circuit has

stressed the presumption only “places a light burden of production on the defendant,” and

the “burden of persuasion always rests with the government.” United States v. Wilks, 15

F.4th 842, 847 (7th Cir. 2021) (emphasis added). Indeed, even “an unrebutted

presumption is not, by itself, an adequate reason to order detention.” Id. Wilks reaffirms

what courts in this district have long recognized, that this “burden of production is not a

heavy one to meet.” See United States v. Hammond, 204 F. Supp. 2d 1157, 1161 (E.D. Wis.

2002).

         It’s worth taking a step back to parse out exactly how the presumption operates.

Typically, the government is tasked with proving by a preponderance of evidence that a

person charged with a crime poses a risk of flight or, by clear and convincing evidence,

that they are a danger to the community. In presumption cases, instead of providing

direct and particularized evidence of risk of flight or danger, the government can instead

make an initial showing that the charged offense falls within the category of cases

                                             3
                                                                       Federal Defender Services
                                                                               of Wisconsin, Inc.
   Case 2:25-mj-00376-SCD-JPS          Filed 04/30/25   Page 3 of 17      Document 12
identified by Congress—here, a drug case punishable by at least 10 years in prison. See

18 U.S.C. § 3142(e). But that is only the beginning, not the end, of the inquiry.

       What the law provides is that once the government makes the necessary showing

that the presumption applies, the defendant, who otherwise would carry no burden at

all, must “come forward with some evidence that he will not flee or endanger the

community if released” to rebut the presumption. United States v. Dominguez, 783 F.2d

702, 707 (7th Cir. 1986) (emphasis added). “Any evidence favorable to the defendant”

relevant to the § 3142(g) factors can rebut the presumption, “including evidence of their

marital, family, and employment status, ties to and role in the community, clean criminal

record, and other types of evidence.” Id. That also would include any “evidence of

economic and social stability.” Id.

       Here, Bea has rebutted the presumption of detention by evidence that he has no

prior record, owns a home, has family in the area, and has a stable employment history.

There also is no evidence of any violent conduct or threats at any time by Bea. The bond

study also recommends release with conditions requiring drug and alcohol testing,

restrictions on travel, and surrender of his passport. And Magistrate Judge Dries further

ordered additional conditions of location monitoring and curfew.

       B. Once the presumption is rebutted, it carries little weight, particularly here.

       Once the presumption is rebutted, it does not act as a presumption at all. Instead, it

becomes just one evidentiary factor among many others. See Dominguez, 783 F.2d at 707;

United States v. Jessup, 757 F.2d 378, 384 (1st Cir. 1985), abrogated on other grounds by United



                                               4
                                                                           Federal Defender Services
                                                                                   of Wisconsin, Inc.
   Case 2:25-mj-00376-SCD-JPS            Filed 04/30/25     Page 4 of 17      Document 12
States v. O’Brien, 895 F2d 810 (1st Cir. 1990) (“[T]he presumption is but one factor among

many”). When it was adopted in the Bail Reform Act of 1984 (BRA), the presumption

reflected Congress’s factual finding that “flight to avoid prosecution [was] particularly

high among persons charged with major drug offenses” and those individuals posed a

“significant risk of pretrial recidivism.” S. Rep. No. 225, 98th Cong., 1st Sess. 19 (1983).

Specifically, Congress was concerned that “because of the extremely lucrative nature of

drug trafficking, and the fact that drug traffickers often have established substantial ties

outside of the United States from whence most dangerous drugs are imported, these

persons have both the resources and foreign contacts to escape to other countries with

relative ease in order to avoid prosecution.” Id. at 16.

       But these findings should hold limited weight today, particularly in cases like

Bea’s, for several reasons. First, Bea is different in kind from the type of drug trafficker

Congress intended to target when it first created the presumption. Indeed, transcripts of

congressional hearings on the BRA show the sheer magnitude of drug trafficking

Congress was considering when it debated the need for the presumption of detention.

The chair of the Subcommittee on Crime for the House Judiciary Committee,

Representative William J. Hughes, for example, noted that “[t]o a narcotics defendant, a

money bond of $1.5 million may be easy to post, and no great loss to forfeit in exchange

for avoiding prosecution.” Hearings before the House Judiciary Committee on the Bail Reform

Act 1981-1982, 97th Cong. 59 (1981) (“1981 Hearings”). Similarly, Representative Harold

Sawyer, a staunch supporter of amending bail laws to address drug trafficking, noted



                                              5
                                                                          Federal Defender Services
                                                                                  of Wisconsin, Inc.
   Case 2:25-mj-00376-SCD-JPS           Filed 04/30/25     Page 5 of 17      Document 12
that the drug trade had become a multi-billion-dollar industry, and the “biggest business

in the State of Florida,” leading traffickers to forfeit bail amounts set as high as “$20-odd

millions,” treating the loss “more or less as an expense of doing business.” Id. at 136.

These quotes put the presumption into perspective. Put simply, “legislators wanted the

drug presumption to prevent rich people suspected of high-level drug trafficking from

fleeing to avoid prosecution.” Erica Zunkel, Alison Siegler, The Federal Judiciary’s Role in

Drug Law Reform in an Era of Congressional Dysfunction, 18 Ohio St. J. Crim. L. 283, 292

(2020).

          It’s important for courts to keep in mind the decidedly narrow approach Congress

was intending to take when it adopted the BRA and the presumption. Indeed, at the time

of the BRA’s passage, Congress “ma[de] clear that to minimize the possibility of a

constitutional challenge, the drafters aimed toward a narrowly-drafted statute with the

pretrial detention provision addressed to the danger from a ‘small but identifiable group

of particularly dangerous defendants.’” United States v. Himler, 797 F.2d 156, 160 (3d Cir.

1986) (emphasis added) (quoting S. Rep. No. 98-225, at *6 (1983)). And this caution from

Congress was well founded. The BRA was the first time in the nation’s history, after all,

that Congress authorized courts to consider dangerousness in bail decisions at all—a

concept that many legal scholars, judges, and lawmakers at the time warned was

concerning and possibly unconstitutional. See U.S. Senator Sam J. Ervin, Jr., Preventative

Detention – A Step Backward for Criminal Justice, 6 Harv. Civil Rights-Civil Liberties L. Rev.

291, 292 (1971) (calling bills allowing for preventative detention based on dangerousness



                                              6
                                                                         Federal Defender Services
                                                                                 of Wisconsin, Inc.
   Case 2:25-mj-00376-SCD-JPS           Filed 04/30/25    Page 6 of 17      Document 12
“an illustration of what happens when politics, public fear, and creative hysteria join

together to find a simple solution to a complex problems”); 1981 Hearings at 131,

Testimony of NYU Professor James George (“When it comes to the matter of

preconviction release, I think the more that a presumption of detainability is used, the

more [constitutionally] vulnerable it may become.”); 1981 Hearings at 102, Testimony of

Yale Law Professor Daniel Freed (“If you authorize the denial of bail in noncapital cases,

you will, after 192 years, be changing federal law, and before you reach the question of

constitutionality . . . the question is, What do you know today that Congressman didn’t

know in 1789 . . .? What is it that is new about dangerousness . . .?”). Though the

constitutionality of the BRA and preventative pretrial detention based on dangerousness

was eventually upheld by a divided Supreme Court in United States v. Salerno, 481 U.S.

739, 750 (1987), the Court emphasized that the act “narrowly focuses on a particularly

acute problem,” and that it operated “only on individuals who have been arrested for a

specific category of extremely serious offenses.” (emphasis added).

      Courts must therefore take great care to apply the BRA and its presumptions as

Congress intended—narrowly and to the specific class of offenders it was initially

intended to reach. To give significant weight to Congress’s limited fact-finding about

wealthy drug offenders from four decades ago, when the typical federal drug defendant

looked very different from those being charged in large drug cases today, runs afoul of

that decidedly narrow approach. See Zunkel & Siegler at 292 (“When the BRA was




                                            7
                                                                       Federal Defender Services
                                                                               of Wisconsin, Inc.
   Case 2:25-mj-00376-SCD-JPS         Filed 04/30/25    Page 7 of 17      Document 12
debated, drug prosecutions were not nearly as prevalent as they are today and therefore

the drug presumption would not have affected ‘a majority of cases.’”).

        Second, more recent empirical data call into question the factual basis for the

presumption in the first place. A government study shows that “the presumption does a

poor job of assessing risk” of flight and dangerousness and has “failed to correctly

identify defendants who are most likely to be rearrested for any offense, rearrested for a

violent offense, [or] fail to appear.”1 This study prompted the Judicial Conference of the

United States, led by Chief Justice Roberts, to recommend that Congress limit the

presumption’s application in drug cases only to people with two or more prior serious

drug convictions—a criterion which Bea clearly does not satisfy.2 The Judicial Conference

first made this recommendation in 2017 and then made it again in 2020.

        It’s not surprising that more recent empirical data would contradict the findings

made by Congress forty years ago. Not only has the population of people charged with

federal drug offenses changed significantly since then, as described above, but the

process of pretrial release has as well. At the time the BRA was being debated, the robust

national system of pretrial supervision through pretrial services agencies that we have

today did not exist. In 1975, Congress passed legislation establishing pretrial services

agencies in just ten pilot federal judicial districts on an experimental basis. See Judge

Donald P. Lay and Jill de La Hut, The Bail Reform Act of 1984: A Discussion, William 11


1 Amaryllis Austin, The Presumption for Detention Statute’s Relationship to Release Rates, 81     Federal
Probation 52, 58 (2017), available at: https://www.uscourts.gov/sites/default/files/81_2_7_0.pdf.
2 See Report of the Proceedings of the Judicial Conference of the United States, September 12, 2017, at 10,

available at: http://www.uscourts.gov/sites/default/files/17-sep_final_0.pdf.

                                                    8
                                                                                   Federal Defender Services
                                                                                           of Wisconsin, Inc.
    Case 2:25-mj-00376-SCD-JPS               Filed 04/30/25       Page 8 of 17        Document 12
Mitchell L. Rev. 4 929, 933. It wasn’t until almost ten years later, in 1982, that Congress

replaced those ten pilot programs with permanent agencies in all judicial districts. Id.

        Thus, when Congress was debating the need for the BRA to address its concern of

pretrial flight and recidivism among certain groups, it did not have the benefit of seeing

how effective pretrial supervision could be at addressing those concerns. We now have

that information, and we know that pretrial supervision has proven exceptionally

effective at diminishing the risk of pretrial recidivism and flight. Indeed, recent statistics

from the Administrative Office of U.S. Courts show that nearly everyone released

pending trial in the federal system appears in court and does not reoffend. In fact, in the

12-month period ending on September 30, 2023, 99% of released federal defendants

nationwide appeared for court as required and only 1.1% were rearrested for new

felonies.3 Significantly, this near-perfect compliance rate is seen in both federal districts

with very high release rates and those districts with very low release rates.4 The statistics

are consistent here in the Eastern District of Wisconsin, where released federal defendants

appeared for court over 99.8% of the time, and only 1.7% of defendants were rearrested

for felony offenses while on release, consistent with the national data.5

        This Court is not constrained by Congress’ 40-year-old factual finding about

unfathomably wealthy drug traffickers here. Instead, the Court should consider the

historical context of the BRA outlined above, the significant limitations Congress had in


3 See AO, Judicial Business, Pretrial Services: Table H-15, Sept. 30, 2023, available at

https://www.uscourts.gov/statistics/table/h-15/judicial-business/2023/09/30.
4 Id.
5 Id.


                                                         9
                                                                                           Federal Defender Services
                                                                                                   of Wisconsin, Inc.
    Case 2:25-mj-00376-SCD-JPS                   Filed 04/30/25         Page 9 of 17          Document 12
its fact-finding, and more recent empirical data contradicting that fact-finding, and afford

the presumption the appropriate weight once it has been rebutted: very little.

       C. The government’s high burden of proving dangerousness by clear and
          convincing evidence never shifts

       Of course, it bears repeating that the ultimate “burden of persuasion always rests

with the government.” Wilks, 15 F. 4th at 846-47; see also United States v. Boll, Case No.

2:20-cr-190-PP, at 17 (E.D. Wis. Nov. 8, 2021) (recognizing that once the defendant

“’rebuts’” the presumption by coming forward with some evidence that he or she will

not flee or endanger the safety of the community, which is not a heavy burden to meet,

then the burden remains with the government to persuade the court that the defendant

is a danger or poses a risk of non-appearance).

       To justify the defendant’s detention based on dangerousness, the government

must prove by “clear and convincing evidence” that there are no conditions of release

that “will reasonably assure the safety of any other person and the community.”18 U.S.C.

§ 3142(f). That requires the government to demonstrate to this Court “an abiding

conviction that the truth of its factual contentions are ‘highly probable.’” Colorado v. New

Mexico, 467 U.S. 310, 316 (1984); see also United States v. Chimurrenga, 760 F.3d 400, 405 (2d

Cir. 1985) (“this standard of proof requires that the evidence support such a conclusion

with a high degree of certainty”).

       D. To determine dangerousness, the Court must focus on the future.

       In determining whether the government has met its burden of showing that it’s

“highly probable” that the defendant would endanger the community if released, it’s

                                             10
                                                                         Federal Defender Services
                                                                                 of Wisconsin, Inc.
   Case 2:25-mj-00376-SCD-JPS          Filed 04/30/25     Page 10 of 17      Document 12
essential to keep in mind that the issue isn’t whether the alleged past conduct is

dangerous, but what specific proof there is that the defendant will endanger the

community if released under restrictive conditions. The government’s burden is to show

by clear and convincing evidence that the defendant actually poses a danger if released,

not that he in theory poses a danger. See United States v. Patriarca, 948 F.2d 789 (1st Cir.

1991).

         As the D.C. Circuit emphasized, the defendant’s “detention based on

dangerousness accords with due process only insofar as the district court determines that

the defendant's history, characteristics, and alleged criminal conduct make clear that he

or she poses a concrete, prospective threat to public safety.” United States v. Munchel¸ 991

F.3d 1273, 1280 (D.C. Cir. 2021) (emphasis added); see also id. (Katsas, J., concurring in part

and dissenting in part) (characterizing the inquiry as not turning on “any backward-

looking assessment” of the defendant’s alleged conduct, but on a “specific, forward-

looking assessment” of whether the defendants “currently pose an unmitigable threat to

public safety”). The Seventh Circuit has long held the same. See Dominguez, 783 F.2d at

707 (holding that the dangerousness “finding cannot be based on evidence that he has

been a danger in the past, except to the extent that his past conduct suggests the likelihood

of future misconduct”); see also Boll, at 17, 30-32 (rejecting government’s claim that the

seriousness of the offense (production of child pornography) establishes a present danger

to the community).




                                              11
                                                                         Federal Defender Services
                                                                                 of Wisconsin, Inc.
   Case 2:25-mj-00376-SCD-JPS          Filed 04/30/25     Page 11 of 17      Document 12
       Judge Dries acknowledged this in ordering that Bea be released. He noted that

now that Bea had been arrested, “the jig was up.” And that it seemed substantially more

likely that at this critical time, Bea would seek to conform his conduct to the law rather

than violate the law. Indeed, that’s precisely why the rearrest rates are so low both

nationally and in this district.

       E. Doubts must be resolved in favor of release.

       If there are doubts regarding the propriety of release, they must be resolved in the

defendant’s favor. See United States v. Hammond, 204 F. Supp. 2d 1157, 1161 (E.D. Wis.

2002) (“Only in rare circumstances should release be denied, and doubts regarding the

propriety of release should be resolved in favor of release.” (internal quotations and

citations omitted)); see also Herzog v. United States, 75 S. Ct. 349, 351 (1955) (Douglas, J., in

chambers) (doubts regarding the propriety of release “should always be resolved in favor

of the defendant”). As the Supreme Court held in Salerno, “[i]n our society liberty is the

norm, and detention prior to trial . . . is the carefully limited exception.” 481 U.S. at 755.

This presumption of release is encapsulated in the BRA, 18 U.S.C. § 3142. The statute

states that the Court “shall order” pretrial release, § 3142(b), except in certain narrow

circumstances. Even if the Court determines under § 3142(c) that an unsecured bond is

not sufficient, the Court “shall order” release subject to “the least restrictive further

condition[s]” that will “reasonably assure” the defendant’s appearance in court and the

safety of the community. § 3142(c)(1) (emphasis added). Under this statutory scheme, “it

is only a ‘limited group of offenders’ who should be detained pending trial.” United States



                                               12
                                                                           Federal Defender Services
                                                                                   of Wisconsin, Inc.
   Case 2:25-mj-00376-SCD-JPS           Filed 04/30/25     Page 12 of 17       Document 12
v. Shakur, 817 F.2d 189, 195 (2d Cir. 1987) (quoting S. Rep. No. 98-225, at 7 (1984), as

reprinted in 1984 U.S.C.C.A.N. 3182, 3189); see also United States v. Byrd, 969 F.2d 106, 109

(5th Cir. 1992) (“There can be no doubt that this Act clearly favors nondetention”).

Finally, Wilks reminds us that “the government’s interest in ensuring the safety of the

community and securing the defendant’s appearance in court” must be balanced against

“the defendant’s interest in his personal liberty.” 15 F. 4th at 847.

       F. The Government has not met its burden of proving dangerousness or risk of
          flight here.

       This Court should follow the recommendation of pretrial services to release Bea

under appropriate conditions as the government has failed to prove dangerousness or

risk of flight here. First, Bea has rebutted the presumption. Recall that all that is necessary

to rebut the presumption is for the defendant to offer “[a]ny evidence . . . of their marital,

family, and employment status, ties and role in the community, clean criminal record and

other types of evidence” falling within a category listed in § 3142(g). See Dominguez, 783

F.2d at 707; see also United States v. Gamble, 810 Fed. Appx. 7, 8 (D.C. Cir. 2020) (finding

that the district court erred in finding that presumption was not rebutted where

defendant “did offer some credible evidence contrary to the statutory presumption,”

including information that he had a job offer).

       Bea has more than satisfied that burden here. He is a high school graduate, has a

good employment history, owns his home, and has no prior criminal record. He is in a

stable and long-term relationship with an individual who also has no criminal record.

The Court should consider he availability of conditions that will address any minimal

                                              13
                                                                         Federal Defender Services
                                                                                 of Wisconsin, Inc.
   Case 2:25-mj-00376-SCD-JPS          Filed 04/30/25     Page 13 of 17      Document 12
risks, including location monitoring, the recommendation of pretrial services, and the

absence of any allegations of violence or threats of violence in his past or associated with

this offense.

       The next step, then, is for this Court to consider whether the government has met

its onerous burden of proving risk of flight or future dangerousness. It has not. The

government has not provided any particularized evidence to show that Bea presents a

danger to the community moving forward. Nor has the government provided evidence

that Bea would be incapable of resisting the temptation to engage in criminal activity if

released pretrial, especially given the seriousness of the charges hanging over his head

and the impact that his conduct while on release could have on plea negotiations or on

his sentence if he’s convicted.

       Moreover, it’s not enough for the government to just show some possibility of

dangerousness to justify detention. The Seventh Circuit has made clear that

“dangerousness alone is an insufficient basis for pretrial detention,” and that release is

required if that “danger can be reasonably mitigated by release conditions.” Lewis, 2023

WL 4351244, at *2. The government must prove there are no conditions that could mitigate

that risk and reasonably assure the safety of the community. See United States v. Tortora,

922 F.2d 880, 884 (1st Cir. 1990) (“[C]ourts cannot demand more than an objectively

reasonable assurance of community safety.”) The government cannot meet that burden

here, where the Court can address any minimal safety concerns through conditions of

release. The government focuses on the fact that Bea’s offense involved fentanyl. As an



                                            14
                                                                       Federal Defender Services
                                                                               of Wisconsin, Inc.
   Case 2:25-mj-00376-SCD-JPS         Filed 04/30/25    Page 14 of 17      Document 12
initial point, the defense is not so sure. The substances involved in Bea’s arrest appear

more like heroin, and the field test for fentanyl is notoriously unreliable.6 But more to the

point, nothing about the dangers of fentanyl Bea may have possessed or sold in the past

bears upon his future dangerousness.

        Location monitoring, including the GPS ordered by Magistrate Judge Dries, will

not only eliminate any serious risk of flight, but also monitor Bea’s whereabouts, thereby

providing that “natural” discouragement to engage in criminal behavior. Beyond

location monitoring, regular reporting to pretrial services, home visits, and phone calls

will ensure that Bea is engaged in productive activities. There also are no concerns in this

case about witness interference.

        The government relies heavily on weight of the evidence as supporting detention,

but that consideration deserves minimal weight. First, the better view is that “weight of

the evidence,” as used in the statute, “goes to the weight of the evidence of

dangerousness, not the weight of the evidence of the defendant’s guilt.” See United States

v. Tawfik, 852 Fed. Appx. 965, 966 (6th Cir. 2021) (internal quotation and citation omitted):

See also United States v. Warneke, 199 F.3d 906, 908 (7th Cir. 1999) (pretrial detention is

based on “risk of flight and danger, and not on the determination of guilt and

punishment”). Placing too much emphasis on the offense and the weight of the evidence


6
 See Ryan Gabrielson, Unreliable and Unchallenged, ProPublica (October 2016); available at: https://www.
propublica.org/article/unreliable-and-unchallenged; Radley Balko, Why are police departments still using
drug field tests? Washington Post (March 13, 2018) available at: https://www.washingtonpost.com/news
/the-watch/wp/2018/03/13/why-are-police-departments-still-using-drug-field-tests/; Ryan Gabrielson,
Street Hustle: The Truth Behind the ‘New’ Police Tool for Confronting Fentanyl Menace, ProPublica (December
2016), available at: https://www.propublica.org/article/truth-behind-new-sirchie-field-test-for-confrontin
g-fentanyl.

                                                    15
                                                                                   Federal Defender Services
                                                                                           of Wisconsin, Inc.
    Case 2:25-mj-00376-SCD-JPS              Filed 04/30/25        Page 15 of 17        Document 12
also is akin to applying a presumption of guilt to detain Bea, an application that is

forbidden under § 3142(j). Importantly, a defendant is not required to “‘rebut’ the

government’s showing of probable cause to believe that he is guilty of the crimes

charged,” Dominquez, 783 F.2d at 706, and “a pretrial detention decision should not

effectively prejudge the merits.” Lewis, No. 23-2137, 2023 WL 4351244, at *1. Which is

perhaps why many courts have found that weight of the evidence is the least important

factor in the release analysis. See United States v. Motamedi, 767 F.2d 1403, 1408 (9th Cir.

1985) (Kennedy, J.); United States v. Hir, 517 F.3d 1081, 1090 (9th Cir. 2008); Hammond, 204

F. Supp. 2d at 1165.

       As discussed, the evidence that Bea would pose a danger if released is weak and

that remains true regardless of the weight of the evidence. There is no indication that the

current charges he is facing are not enough to deter him from participating in drug

transactions given everything he would be risking.

       Relatedly, the potential penalties do not change that analysis. The government

identifies the 40-year mandatory minimum as a factor adding to his flight risk. Over the

past several years, there has been an increase in gun and drug cases involving firearms

with switches or auto sears that convert a semi-automatic handgun to a fully automatic.

That is the charge that brings 30-year consecutive penalty. And though it’s been charged

several times in the district, the government has not once sought or insisted on a

conviction of that charge. Thus, the penalties he faces actually provide a strong deterrent

incentive to avoid engaging in illegal conduct.



                                            16
                                                                       Federal Defender Services
                                                                               of Wisconsin, Inc.
   Case 2:25-mj-00376-SCD-JPS         Filed 04/30/25    Page 16 of 17      Document 12
      II.    Conclusion

      For the above reasons, this Court should follow the recommendation of Pretrial

Services and the determination of Magistrate Judge Dries and order Bea’s release on bail

under appropriate conditions.


      Dated at Milwaukee, Wisconsin, this 30th day of April, 2025.

                                 Respectfully submitted,


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                                          17
                                                                      Federal Defender Services
                                                                              of Wisconsin, Inc.
   Case 2:25-mj-00376-SCD-JPS       Filed 04/30/25    Page 17 of 17       Document 12
